                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )       No. 2:10-CR-110
                                                 )
MANUEL PEREZ BURELO                              )


                            MEMORANDUM AND ORDER

              The defendant will be sentenced on June 21, 2012. At paragraph 55 of the

presentence investigation report (“PSR”), the probation officer recommends that the offense

level be increased by three pursuant to U.S.S.G. § 3B1.1(b) based on the defendant’s role as

a manager or supervisor of the charged cocaine and marijuana conspiracy. At paragraph 53

of the PSR, the probation officer recommends that the offense level be increased by two

pursuant to U.S.S.G. § 2D1.1(b)(1) for possession of a firearm.

              The defendant objects to both adjustments. The firearm enhancement will be

addressed by the court at sentencing.

              As to the role adjustment, the court has considered the parties’ arguments. The

court has also considered the two letters it has received from the defendant, both of which

contain his contention that he was “only a minor player having only contributed to one [or

few] transaction[s].” Based on the agreed factual basis contained in the defendant’s signed

plea agreement, the court finds that a hearing on this issue is unnecessary. For the reasons

that follow, the defendant’s role objection will be overruled.




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              Section 3B1.1(b) of the advisory guidelines provides for a three-level increase

in the offense level, “If the defendant was a manager or supervisor . . . and the criminal

activity involved five or more participants or was otherwise extensive . . . .” The defendant

does not challenge that the instant conspiracy (in which 36 defendants are charged) involved

five or more participants or was otherwise extensive. The application notes to § 3B1.1

provide that “[t]o qualify for an adjustment under this section, the defendant must have been

the . . . manager or supervisor of one or more other participants.”

              To determine whether § 3B1.1(b) should apply, the court considers factors such

as “the defendant’s exercise of decision-making authority, any recruitment of accomplices,

the claimed right to a larger share of the fruits of the crime, the degree of participation in

planning the offense, and the degree of control the defendant exercised over others.” United

States v. Solorio, 337 F.3d 580, 601 (6th Cir. 2003) (citation omitted). It is the government’s

burden to prove that the enhancement applies. See id. at 600.

              Notwithstanding the defendant’s current representations that he was “only a

minor player having only contributed to one [or few] transaction[s],” the court initially notes

that he admitted in his plea agreement that “[t]here are over 120 drug trafficking related

conversations between the defendant and [lead codefendant] Sarabia that were intercepted”

by authorities. [Doc. 606, ¶ 4(bb)]. The defendant has admitted that he “served as one of

Sarabia’s main distributors of cocaine in the Eastern District of Tennessee” with “a wide

customer base.” [Doc. 606, ¶ 4(b)].


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              The defendant and certain codefendants “would store the cocaine and

marijuana in stash locations in the Johnson City, Tennessee, area” pending redistribution.

[Doc. 606, ¶ 4(c)].     In at least four recorded conversations, the defendant directed

codefendant Jose Vergara to conduct drug transactions and/or collect money for him. [Doc.

606, ¶¶ 4(o), (p), (q), (aa)]. In his objection, the defendant admits that he instructed Vergara

to bring drug scales to another transaction.

              The defendant demonstrated knowledge of the conspiracy’s sources of supply.

[Doc. 606, ¶¶ 4(k), (ff)]. The defendant exercised discretion over the price of the drugs that

he sold, with an eye on “mak[ing] profit.” [Doc. 606, ¶¶ 4(aa), (ii), (jj)]. He was not merely

reselling at the direction of Sarabia. In fact, during one recorded conversation the defendant

advised Sarabia as to whether a particular batch of cocaine would sell better in powder or

crack form. [Doc. 606, ¶ 4(hh)].

              The defendant’s offense level is properly increased by three for being a

manager or supervisor, pursuant to U.S.S.G. § 3B1.1(b). He was admittedly one of the “main

distributors” in this large conspiracy. He advised, profited, exercised discretion, stored

drugs, and was aware of sources of supply. The defendant admittedly and repeatedly directed

the actions of codefendant Vergara. Through the agreed factual basis of the plea agreement,

the government has met its burden of showing that the defendant was a manager/supervisor

for purposes of § 3B1.1(b).




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             For these reasons, the defendant’s objection to the three-level role enhancement

is overruled. As noted above, the defendant’s objection to the two-level § 2D1.1(b)(1)

weapon enhancement will be addressed at sentencing.

             IT IS SO ORDERED.


                                                        ENTER:


                                                                s/ Leon Jordan
                                                           United States District Judge




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